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MEDITECH

August 31, 2018

The Honorable Leo T. Sorokin
United States District Court

John Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA 02210

RE: Ross McLellan

Dear Justice Sorokin:

| am writing this letter on behalf of Ross McLellan. My name is Brian Doyle. | am 46 years old, happily
married for nineteen (19) years and fortunate to have three (3) wonderful children. | serve as a
Director for Medical Information Technology, Inc. (MEDITECH) specializing in directing the sales of
software to support clinicians that care for patients in their homes. | have been employed by
MEDITECH for eighteen (18) years.

Ross and | have been good friends for 28 years, first meeting during orientation weekend of our
freshman year at Stonehill College. We became friends immediately. We both were brought up by
hard-working middle-class parents with multiple siblings and understand the sacrifices they made to
give us the opportunity to go to college. We take pride in our family heritage, value and appreciate the
communities we grew up in. We mutually share common interests like sports, card and trivia games,
music and church. Although, our studies took us in different directions following college we remain to
this day, close friends.

Ross did great academically and he is a hard worker. After graduating from Stonehill he earned an
advanced degree from Boston College, Carroll School of Management. From there, he immersed
himself professionally in careers with State Street Bank and Harbor Analytics, LLC. Though focused in
his career, Ross was not self-consumed. Ross appreciates the wisdom and experience of others and
has the uncanny knack of learning from those encounters to make himself and those around him

grow. Indeed, | have made plenty of calls and shared many pints over the years with Ross seeking his

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input on my own career path, being a Dad, and growing older. He always showed patience, ability to

listen and perhaps fortitude to help keep me on track. Ross is a friend | will always cherish.

Recently, | had the opportunity to experience Ross’ generosity in a community setting. Ross and his
wife Lisa managed the second annual Wiffle Ball Tournament to raise money for the Children’s
Hospital. Ross’ neighbor’s son is currently battling a rare bone disease along with another child in his
town and they are seeking treatment at Boston Children’s Hospital. Since both kids enjoy baseball, a
wiffle ball tournament is a perfect fit for a fun community event that raises awareness and funds for
an important cause. Ross lined the fields, organized the teams, instructed the volunteers, posted the
tournament board, hugged and high-fived every child that participated and even managed to hit a
couple of home runs for our team. The day was an absolute success and although Ross and Lisa would
not take the credit for it, it would not have been a success without their direct involvement. Last year,
the tournament drew over 50 teams and 250 participants, raising $32,000 for the hospital. This year
they had a similar turnout. The tournament occurred on August 26", therefore, the charitable figures

are not yet available.

Finally, Ross is a devoted husband and family man. Ross has four kids, i crade 8), MM (grade 6)
and a set of twins; en BR race 2) with his wife Lisa. As you might imagine most of our
encounters these days are either at rinks, gyms or fields. All are bright, beautiful kids that are happy
and respectful. It’s quite evident they come from loving parents that are fully committed to their

future success. 4

In closing, | thank you in advance your Honor and for taking this letter into consideration.

Respectfully,

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Brian P. Doyle

Director, Home Care Sales

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